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                                   8                                  UNITED STATES DISTRICT COURT

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                                                                     NORTHERN DISTRICT OF CALIFORNIA
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                                  12    AMERICAN FEDERATION OF
Northern District of California
 United States District Court




                                        GOVERNMENT EMPLOYEES, AFL-CIO,
                                  13    et al.,                                              No. C 25-01780 WHA

                                  14                   Plaintiffs,

                                  15            v.                                           NOTICE OF BRIEFING
                                                                                             SCHEDULES
                                  16    UNITED STATES OFFICE OF
                                        PERSONNEL MANAGEMENT, et al.,
                                  17
                                                       Defendants.
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                                  20         The March 13 preliminary injunction did not consider claims advanced by plaintiff State

                                  21    of Washington, who first joined this matter in plaintiffs’ second amended complaint. If

                                  22    Washington is going to bring a motion for preliminary injunction, it should do so promptly, by

                                  23    WEDNESDAY, MARCH 26, 2025, AT NOON. Defendants’ opposition will be due MONDAY,

                                  24    MARCH 31 AT NOON, and any reply must be filed by APRIL 3, 2025, AT NOON. Oral argument

                                  25    will be heard in person on WEDNESDAY, APRIL 9 AT 8 AM.

                                  26         With regards to defendants’ compliance with the preliminary injunction now in place,

                                  27    plaintiffs’ counsel state that they “await further instruction from the Court regarding how it

                                  28    wishes to proceed with respect to compliance and enforcement of the preliminary injunction”
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                                   1    (Dkt. No. 142 at 6). It should be up to plaintiffs and their counsel to file a proper motion to

                                   2    compel compliance and/or to seek contempt of court. It is not the role of the judge to direct

                                   3    plaintiffs’ litigation strategy. Any such motion should be briefed and will be heard on the

                                   4    same schedule stated above as to the State of Washington.

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                                   6         IT IS SO ORDERED.

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                                   8    Dated: March 21, 2025

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                                                                                                WILLIAM ALSUP
                                  11                                                            UNITED STATES DISTRICT JUDGE
                                  12
Northern District of California
 United States District Court




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